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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------- x
                                    :
 UNITED STATES OF AMERICA           :
                                    :                     STIPULATION AND ORDER
                                    :
        -v.-                        :                     22 Cr. 675 (PGG)
                                    :
 LAWRENCE BILLIMEK,                 :
                                    :
             Defendant.             :
                                    :
----------------------------------- x

                WHEREAS, on or about December 12, 2022, LAWRENCE BILLIMEK (the

                and another, was charged in a three-count Sealed Indictment, 22 Cr. 675 (PGG) (the

                with conspiracy to commit securities fraud and wire fraud, in violation of Title 18,

 United States Code, Section 371 (Count One); securities fraud, in violation of Title 15, United

 States Code, Sections 78j(b) and 78ff, Title 17, Code of Federal Regulations, Section 240.10b-5,

 and Title 18, United States Code, Section 2 (Count Two); wire fraud, in violation of Title 18,

 United States Code, Sections 1343 and 2 (Count Three);

                WHEREAS, the Indictment contained a forfeiture allegation with respect to Counts

 One through Three of the Indictment, seeking forfeiture to the United States, pursuant to Title 18,

 United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), all

 property, real and personal, that constitute or is derived from proceeds traceable to the commission

 of the offenses charged in Counts One through Three of the Indictment, including but not limited

 to the following specific property: the real property located at 25 South Club View Drive, Hailey,



                WHEREAS, on or about December 14, 2022, the Government filed a lis pendens

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                                                                                           e;

                WHEREAS, the Government has learned that the Subject Property is owned by 25



                WHEREAS, the Government has learned that the LLC is comprised of Class A

members consisting of Mike Fox, Delaney Fox, and Sierra Fox (collectively,



                     WHEREAS, the Government has learned that the Defendant made a capital

contribution of $500,000 to the LLC for its purchase of the Subject Property (the

                WHEREAS, the Government asserts that the Contribution constitutes proceeds

traceable to the offenses charged in Counts One through Three of the Indictment;

                WHEREAS, the Defendant has agreed to sell, convey and transfer to the LLC all

of his rights, title, estates and membership interest in the LLC in exchange for the return of the

Contribution; and

                WHEREAS, the LLC and the Defendant have agreed to remit

$500,000 in United States currency to the Government representing the Contribution received by

the LLC which will be held in the Seized Asset Deposit Fund pending the resolution of this

criminal matter;



                1.       IT IS HEREBY STIPULATED AND AGREED, by and between the United States

of America, by its attorney DAMIAN WILLIAMS, United States Attorney, Assistant United States

Attorney Daniel M. Tracer, the Defendant, and his counsel, Telemachus P. Kasulis, Esq., and the LLC, and

its counsel, Jared C. Kimball, Esq., that: Upon entry of this Stipulation and Order, the LLC shall

transfer $500,000 in United States currency to the Government in a manner to be provided by the

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Government to counsel for the LLC                         , and, without any further notice or action,

Defendant shall be deemed to have sold, conveyed and transferred to the LLC all of his rights,

title, estates and membership interest in the LLC.

                2.      Upon receipt of the Payment, the Government shall (within seven (7)

business days) then record a Release of Lis Pendens for the Subject Property with the Clerk of the

Court, Blaine County, Idaho.

                3.      The Payment shall be held on deposit in the Seized Asset Deposit Fund

during the pendency of this criminal matter and shall be the substitute res for the Subject Property

and will serve as a substitute res for the Subject Property in the above-captioned case, with all

claims and defenses applicable to the Subject Property, including any other action that may be

brought by the United States               Office              for forfeiture of the Subject Property or

claims by third parties, to apply instead to the Substitute Res.

                4.      The terms of this Stipulation and Order shall be subject to approval by the

Court.

                5.      The Parties agree to execute any documentation to implement the terms of

this Stipulation and Order.

                6.      The Parties hereby agree to waive all rights to appeal or otherwise challenge

or contest the validity of this Stipulation and Order.

                7.      This Stipulation and Order shall in no way be deemed an admission of

culpability, liability, or guilt on behalf of the Parties, or any of their respective agents, officers, or

employees, past and present.

                8.      Each party shall bear its own costs and fees, including                fees.

                9.      This Court will have exclusive jurisdiction over the interpretation and

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